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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                              NORFOLK DIVISION

 W. GREG VOGEL,

        Plaintiff,

 v.                                                            Case No. 2:18cv361

 CITY OF VIRGINIA BEACH,

        Defendant.


      MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION
           ON BEHALF OF DEFENDANT CITY OF VIRGINIA BEACH

       COMES NOW the Defendant, City of Virginia Beach (“City”), by counsel, and hereby

files its Motion to Dismiss the Plaintiff’s, W. Greg Vogel’s (“Vogel”), claims against it pursuant

to Rule 12(b)(1) of the Federal Rules of Civil Procedure on the grounds that this Court lacks

subject matter jurisdiction over the allegations being made in Vogel’s Complaint. The reasons

and legal authorities supporting this Motion are more specifically set forth in the accompanying

Memorandum of Law.

       WHEREFORE, the City respectfully moves this Court to enter an Order granting this

Motion and dismiss Vogel’s Complaint against the City, and for all such other and further relief

as the Court deems appropriate.

                                                     Respectfully Submitted,

                                                     CITY OF VIRGINIA BEACH

                                                     By: __________ /s/______________
                                                                  Of Counsel




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Counsel for Defendant City of Virginia Beach



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 30th day of July, 2018, I will electronically file the foregoing
with the Clerk of the Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following:


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                                               ____________/s/________________
                                                    Gerald L. Harris




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